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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

DAVID PARKER, et al, )
Plaintiffs, )
)

vs. ) CIVIL ACTION NO. 06-10751-MLW
)
WILLIAM HURLEY, et al, )
Defendants. )
)

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

This Complaint against public school officials and the Town of Lexington arises from
alleged grievances of two sets of parents Who object to even the most minimal references to gay
and lesbian families found in a few books made available to their young children. Neither the
incidental exposure of plaintiffs’ children to such materials, nor broader school policies
promoting acceptance of diversity and elimination of discrimination against minorities, including
gays and lesbians, are grounds to support the constitutional and statutory claims advanced by the
plaintiffs. Moreover, neither this Court nor other courts throughout the country have recognized
constitutional claims that would entitle individual parents to control the flow of information and
the curriculum of public schools, or to censor material inconsistent With their religious beliefs.
Accordingly, the defendants move to dismiss this Complaint.

Plaintiffs’ Complaint sounds in four Counts. ln Count I, the plaintiffs seek relief under
42 U.S.C. § 1983 for defendants’ alleged “unreasonable intrusion” into plaintiffs’ “hybrid rights
to direct [the] moral upbringing of [their] children.” ln Count II, the plaintiffs claim that
defendants’ alleged interference With their constitutional rights Was accomplished through

“threats, intimidation and coercion” and is, therefore, actionable under M.G.L. c. 12, §§ llH &

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lll, the Massachusetts Civil Rights Act. ln Count III, the plaintiffs seek to invoke a private right
of action under M.G.L. c. 7l, § 32A, the so-called “Opt~out Statute,” a parental notification law
adopted by the Massachusetts Legislature in 1996. Finally, in Count IV, the plaintiffs allege that
the defendants conspired to deprive them of their constitutional rights in violation of 42 U.S.C. §
1983. ln relief, the plaintiffs seek both compensatory and punitive damages, as well as
injunctive relief in the form of an order requiring defendants to give the plaintiff parents
“eXplicit” and “timely” prior notice of future adult-directed or initiated classroom discussions of
“sexuality, gender identity, [or] marriage constructs . . .,” and further requiring that plaintiff
parents be given the opportunity to excuse their children from future classroom presentations or
discussions involving the “validity,” “affirm[ation]” or “celebrat[ion]” of “human sexuality,
gender identity, . . . marriage constructs . . ., belief systems or religious perspectives.”l

The defendants, William Hurley; Paul B. Ash, Ph.D.; Helen Lutton Cohen; Thomas R.
Diaz; Olga Guttag; Scott Burson; Thomas Griffith; Andre Ravenelle; Joni Jay; Jennifer
Wolfrum; Heather Kramer;2 and the Town of Lexington; now move to dismiss plaintiffs’
Complaint under Fed. R. Civ. P. lZ(b)(6) for failure to state a claim upon which relief can be
granted. As grounds therefor, the defendants state:

l. Defendants’ use of the reading materials identified in plaintiffs’ Complaint did not

unreasonably interfere with or place an unlawful burden on plaintiffs’ constitutional ri ghts;

 

1 I_d_., [Prayer for Reliei], 11 3.
Mr. Hurley is the former Superintendent of the Lexington Public Schools. Dr. Ash is the current Superintendent.
Ms. Cohen, Mr. Diaz, Ms. Guttag, Mr. Burson and Mr. Griffith are members of the Lexington School Committee. Mr.
Ravenelle is the former Director of Education. Ms. J ay is the former Principal of Estabrook Elementary School. Ms.
Wolfrum is the Coordinator of Health Education. Ms. Kramer was the second grade teacher of the minor plaintiff, Joey
Wirthlin, during the 2005-2006 academic year. The eleven (l l) individual defendants are sued both individually and in
their official capacities.

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moreover, defendants’ legitimate governmental interest in providing an appropriate public
education to all school-age children within the Town of Lexington outweighs plaintiffs’ rights to
tailor the public school curriculum to suit their personal morals or beliefs, to dictate how or when
certain subjects may be taught to their children, or to control the flow of age-appropriate
information regarding diversity or family composition, including same sex parents.

2. Defendants did not unlawfully interfere with plaintiffs’ constitutional rights through
“threats, intimidation or coercion” and, therefore, no claim lies under the Massachusetts Civil
Rights Act.

3. The Massachusetts Opt-out Statute does not create a private right of action
enforceable by the plaintiffs.

4. The plaintiffs fail to state a viable conspiracy claim under 42 U.S.C. § 1983.

5. The individual defendants are entitled to qualified immunity as against plaintiffs’ civil
rights claims.

Because the plaintiffs fail to state a claim upon which relief can be granted, all four
Counts of their Complaint must be dismissed. This Memorandum of Law is submitted in support
of the defendants’ Motion to Dismiss.

I. STANDARD OF REVIEW

When ruling on a Rule l2(b)(6) motion, the Court must accept as true all well-pleaded
facts in the Complaint, construe such facts in the light most favorable to the plaintiffs, and then
determine whether the Complaint sets forth any set of facts which could entitle the plaintiffs to
relief. Cooperman v. Individual, lnc., 171 F.3d 43, 46 (lSt Cir. 1999); Gooley v. Mobil Oil

Corp., 851 F.2d 513, 514 (lSt Cir. 1988). Nevertheless, the Court must “eschew any reliance on

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bold assertions, unsupportable conclusions and ‘opprobrious epithets. Chongg`s v. Board of

Appeals of the Town of Andover, 8ll F.2d 36, 37 (lSt Cir. 1987). Further, the Court is not

 

obliged to honor subjective characterizations, optimistic predictions or problematic suppositions.
Dartmouth Review v. Dartmouth College, 889 F.2d 13, 16 (lSt Cir. 1989).

II. PLAINTIFFS’ COMPLAINT

The plaintiffs, David and Tonia Parker, are the parents of Jacob and loshua Parker. The
Parkers describe themselves as “devout Judeo-Christians”3 who sincerely believe that marriage is
a union between a man and a woman only, and “that labeling marriage to be otherwise is
immoral.”4 In September 2004, the Parkers enrolled Jacob in kindergarten at Estabrook
Elementary School (hereinafter “Estabrook”), a public school in the Town of Lexington.5
According to the Parkers, the defendants immediately began instructing Jacob contrary to his
family’s religious beliefs.6 ln support of this allegation, the Parkers cite two books to which their
son was exposed while attending Estabrook. During his kindergarten year, Jacob brought home
Who’s ln A Family, a book Which appeared to depict same sex couples together with children.7
The book was one of several contained in a “Diversity Book Bag” that was “intended to
strengthen the connections among our school population and build an atmosphere of tolerance

and respect for cultural racial ability and family structure diversity.”8 The following year, Jacob

 

I_d;, 11 23.

I_d., 11 28.

I_d., 11 24.

I_d., 11 25.

I_d., 11 26.

l_d. In a statement sent home to parents sometime after April 27, 2005, the defendant, former
Superintendent Hurley, described MI_nMY as follows:

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The book is designed for young children and includes illustrations of children accompanied by various

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(then in first grade) was also exposed to Molly’s Family, a book which likewise depicted “gay
and lesbian relationships and gay and lesbian marriage.”9 The Parkers contend that Who’s ln A
FamilY and Molly’s Family address homosexuality and transgenderism,10 subjects of “great
concem” to them,ll and they were given neither prior notice of the school’s intended use of such
materials, nor the opportunity for their son to opt-out from that portion of the curriculum.12

The plaintiffs, Joseph and Robin Wirthlin, are the parents of Joey Wirthlin, The
Wirthlins, like the Parkers, describe themselves as “devout Judeo-Chr‘istians.”13 Among the
Wirthlins’ “core beliefs” is the concept that issues concerning sexual intimacy and the holy basis
of matrimony are governed by the laws of the God of Abraham and should remain private within
the family. lncluded in that concept is the belief that homosexual behavior “is immoral in that
it violates God’s law.”14 During the 2005-2006 academic year, Joey was enrolled in the
defendant, Heather Kramer’s, second grade class at Estabrook. On March 24, 2006, Ms. Kramer
read aloud to the class (including Joey) King and King, a library book. According to the
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Wirthlins, the theme of King and King is one of “romantic physical contact between two men.

ln Paragraph 53 of the Complaint, the plaintiffs summarize the book as follows:

 

parent figures, including two individuals of difference genders, two individuals of the same gender,
grandparents, bi-racial couples, as well as a one-parent family.

@, 11 40.

9 Ld., 11 27.

10 A transgender individual is one who experiences “a strong and persistent cross-gender identification,” as
well as “persistent discomfort about one’s assigned sex or a sense of inappropriateness in the gender role of that
sex.” Diagnostic and Statistical Manual of Mental Disorders (4th Ed. 1994), at 532-533. The defendants dispute that
“Who’s In A Family” or “Molly’s Family” address issues of transgenderism, and certainly the Parkers identify no
transgender characters who appear in either book.

11 1_<1.,111128,29 & 31.

12 Ld_, 1111 27 & 34.

13 Ld., 11 54.

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This book describes a male prince who is told by his mother that he needs to find a wife.
He rejects several females for superficial reasons such as the fact that one princess is
“black” and has arms that are too long. One princess is too fat, and one has glasses and
crooked teeth. He then discovers he is homosexual, falls in love and lives happily ever
after with another homosexual male. The two males are graphically depicted as kissing
at the end of the book.16

The Wirthlins contend that Ms. Kramer read King and King to her students for the “express

purpose” of teaching them, contrary to the Wirthlins’ “deeply-held faith,” that homosexuality

and marriage between same-sex partners is moral.17 Such instruction, the Wirthlins claim,

”18 Moreover, the

intrudes upon their right to “direct the moral upbringing of their own children,
Wirthlins, like the Parkers, were not given prior notice of the school’s use of the book King and
@g, nor the opportunity to excuse their son from that portion of the curriculum

The plaintiffs allege that inclusion of the above-referenced books in the Elementary
School curriculum is part of an unconstitutional policy of coercive indoctrination planned and
adopted by the defendants. As characterized by the plaintiffs, the defendants’ plan is to teach
their children “moral belief systems that are markedly different from those of their parents” with
the specific intent to “denigrate” the plaintiffs’ sincere and deeply-held beliefs,19 Such a policy,
plaintiffs claim, is unconstitutional and, therefore, must be stricken.

III. ARGUMENT

Before addressing the several grounds for the dismissal of plaintiffs’ Complaint, it is

appropriate for the Court first to examine plaintiffs’ claims in the context of their full Complaint

 

15 Ld., jj 55.

16 I_d., 11 53. The so-called “graphic” depiction is nothing more than the Wirthlins’ subjective
characterization which this Court need not honor on a motion to dismiss. A copy of the illustration from the last
page of King and King is attached hereto as “A.”

17 1_<1.,1}1}55 & 56.
18 1_¢1.,1156.

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and in light of Massachusetts public education law. Yet in so doing, the Court should be mindful
that its role in reviewing the administration of public education is limited. “Public education of
children is unquestionably entrusted to the control, management, and discretion of state and local
school committees.” Curtis v. School Comm. of Falmouth, 420 Mass. 749, 754 (1995). “Courts
do not and cannot intervene in the resolution of conflicts which arise in the daily operation of
school systems and which do not directly and sharply implicate basic constitutional values.” I_d.,
quoting Epperson v. Arkansas, 393 U.S. 97, 104 (1968).

Among plaintiffs’ well-pleaded facts, the Parkers and Wirthlins quote at length a
statement issued by the defendant, Superintendent Ash, on or about September 22, 2005. ln that
statement, Superintendent Ash wrote, in part:

[O]ur schools routinely provide students with access to materials, activities, and

discussions that recognize diversity. This access is designed to assist us in our goal of

maintaining an appropriate and respectful educational environment for all students. As
required by law and LPS [Lexington Public School] policy, this environment must be free
of discrimination based on race, gender, color, religion, sexual orientation, national origin
and disal_~)iiity.20

Consistent with this policy, the defendants distributed to kindergarten students (including Jacob)

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a “Diversity Book Bag.” ln so doing, defendants goa ” was not to “denigrate” plaintiffs’

beliefs but, rather, to “engage the student and parent population in a sustained effort of

acknowledging and celebrating the diverse backgrounds and families in our school

- 21
community.”

This “goal” is not unique to the Town of Lexington. lndeed, the acknowledgment and

 

19 I_d., 11 66.

20 lg, 11 43. M.G.L. c. 76, § 5, expressly prohibits public schools from excluding or discriminating against
any student “on account of race, color, sex, religion, national origin or sexual orientation.”

21 computing 11 26.

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celebration of diversity is a goal embraced by the entire Commonwealth.22 ln the Massachusetts
Comprehensive Health Curriculum Framework developed by the Commissioner of Education
after enactment of the Education Reform Act of 1993 (M.G.L. c. 71, §§ 1, et seq.), the
Commissioner adopted five Guiding Principles, as well as several educational Strands and
Leaming Standards, to assist school districts throughout the Commonwealth in providing age-
appropriate health education for students in grade levels pre-kindergarten through twelve.23
Hancock v. Commissioner of Ed., 443 Mass. 428, 438-439 (2005); Student No. 9 v. Board of
E_d., 440 Mass. 752, 755-759 (2004). Guiding Principle IV recognizes that a comprehensive
health education program contributes to the capacity of students to work in their community to
“create a safe and supportive environment where individual similarities and differences are
acknowledged.”24 As mandated by the Commonwealth, health education begins in the early
grades. Thus, for the Strands set forth below, the Commissioner recommends that, by the
completion of grade five, students should receive instruction in accordance with the following

Leaming Standards:

 

22 In fact, teaching diversity and tolerance is regarded as a national educational goal. As the Supreme
Court noted, public schools serve the purpose of teaching fundamental values “essential to a democratic society.”
Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 681 (1986). These values “include tolerance of divergent
political and religious views” While taking into account “consideration of the sensibilities of others.” I_d.

23 M.G.L. c. 69, § 1D, States that the Board or Educatton Shall direct the Commissioner to develop
“academic standards” for certain core subjects concerning grades kindergarten through twelve. These standards
shall, among other things, “be designed to inculcate respect for the cultural, ethnic and racial diversity of the
commonwealth . . .,” and “may also include the teaching of family life skills . . ..” § Furthermore, such academic
standards “shall be designed to avoid perpetuating gender, cultural or racial stereotypes.” I_d. Pursuant to M.G.L. c.
69, § lE, the Board shall also direct the Commissioner to adopt “culriculum frameworks” for core subjects covered
by the academic standards And, like the standards themselves, said frameworks “shall be designed to avoid
perpetuating gender, cultural, ethnic or racial stereotypes.” I_d.

For the convenience of the Court, copies of selected portions of the Massachusetts Comprehensive
Health Curriculum Framework are attached hereto as “B.”

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Strand Learning Standard25

Reproduction/Sexuality Defi`ne sexual orientation using the correct
terminology (such as heterosexual and gay and
lesbian).

Family Life Describe dijj‘erent types of families, addressing
membership and social influences, and the functions
of family members.

Interpersonal Relationships Describe the concepts of prejudice and
discrimination.

The plaintiffs recognize (as they must) that Massachusetts endorses marriage between
same-sex couples. See Goodridge v. Department of Public Health, 440 Mass. 309 (2003).
Nonetheless, they do not wish their children to learn of this subject at their current ages.26
Although mindful of this personal preference, the defendants violated no constitutional or
statutory rights of the plaintiffs by making available the books Who’s ln A Family, Molly’s

Familv and King and King to Elementary School students.

 

A. Defendants’ Use of the Identified Reading Materials in the Elementary School
Did Not Violate Plaintiffs’ Constitutional Rights.

ln Count l of their Complaint, the plaintiffs allege the defendants violated their free
exercise of religion ri ghts, their rights to direct the upbringing of their children, and their
substantive due process rights, all as protected under the First, Fourth, Fifth and Fourteenth
Amendments to the United States Constitution. The plaintiffs describe such rights as “hybrid

rights” in that “the combined effect of these deprivations is synergistic and requires the state to

 

25 Academic standards “set forth the skills, competencies and knowledge expected to be possessed by all
students at the conclusion of individual grades or clusters of grades.” M.G.L. c. 69, § 1D.
26 Complaint, 11 29.

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set forth a compelling state interest in its conduct.”27 Plaintiffs’ conclusion is in error;
defendants’ conduct need not satisfy a strict scrutiny test in order to pass constitutional muster.
And, because defendants’ inclusion of the three identified books made available to Elementary
School students was rationally-related to the state’s legitimate interest in exposing students to
diversity in a respectful educational environment free from discrimination based on race, gender,
color, religion, sexual orientation or disability, any burden placed on plaintiffs’ ri ghts, whether
viewed alone or in combination, was not unconstitutionall

ln Emnloyment Div., Dep’t of Human Resources of Oregon v. Smith, 494 U.S. 872
(1990), the Supreme Court upheld the constitutionality of a neutral, generally applicable criminal
law prohibiting the use of peyote in the face of plaintiff’ s challenge that it violated his right to
the free exercise of religion. ln applying a rational basis test - L, determining whether the law
was reasonably related to a legitimate state interest _ the Court noted that plaintiff’ s free exercise
claim was not joined or combined with other constitutional protections, such as communicative
activity or parental rights. Ld., 494 U.S. at 882. ln so doing, the Court implied (but did not hold)
that such “hybrid situations” might merit a higher standard than rational basis review. ELZS Yet,

the Court was careful to warn that the mere accompaniment of religious convictions would not

 

27 Complaint, 1[ 74.

28 The defendants do not concede that so-called “hybrid situations” necessarily merit a higher level of
constitutional scrutiny. As the Second Circuit reasoned in Leebaert v. Harrington, 332 F.3d 134, 144 (2d Cir. 2003):
“We . . . can think of no good reason for the standard of review to vary simply with the number of constitutional
rights that the plaintiff asserts have been violated.” See also Church of Lukumi Babalu Aye, Inc. v. Cig of Hialeah,
508 U.S. 520, 567 (1993) (Justice Souter, in concurring opinion, criticizes “hybrid” exception as “untenable”);
Henderson v. Kennedy, 253 F.3d 12, 19 (D.C. Cir. 2001) (court rejects notion that combination of two untenable
claims can equal one tenable claim). Although debate is still brewing among the circuits regarding the existence and
application of a “hybrid rights” exception, the defendants acknowledge that the First Circuit has held that the
exception can be invoked where a plaintiff joins a free exercise challenge with another independently viable
constitutional claim. Brown v. Hot, Sexv and Safer Prods., Inc., 68 F.3d 525, 539 (1St Cir. 1995)7 cert. den., 516
U.S. 1159 (1996).

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shield otherwise proscribed conduct from governmental regulation. I_d.

]. Free Exercise of Religion

Defendants’ use of diversity materials in the Elementary School curriculum did not
violate plaintiffs’ rights to the free exercise of their Judeo-Christian beliefs. “As a general
proposition, a law (or policy) that is neutral and of general applicability need not be justified by a
compelling governmental interest even if that law incidentally burdens a particular religious
practice or belief.” Swanson v. Guthrie lnd. School Dist. No. 1-L, 135 F.3d 694, 697-698 (10th
Cir. 1998), citing Church of Lukumi Babalu Ave, lnc. v. Citv oinaleah, 508 U.S. 520, 531
(1993). Absent a showing that the plaintiff was either forced by the state to affirm or deny a
belief, or forced to engage or refrain from engaging in a practice prohibited (or mandated) by his
or her religion, a free exercise claim will not be sustained. Mozert v. Hawkins Cty. Board of Ed.,
827 F.2d 1058, 1065 (6th Cir. 1987), cert. den., 484 U.S. 1066 (1988).

Courts have routinely upheld the lights of public schools to adopt educational policies
and design curriculum free of parental controls. See M, 827 F.2d at 1065 (school’s use of
teaching materials concerning evolution, secular humanism, futuristic supematuralism, pacifism,
magic, mental telepathy and “false views of death,” considered offensive to plaintiffs’ religious
beliefs, held constitutional); Fleischfresser v. Directors of School Dist. 200, 15 F.3d 680, 689-
690 (7th Cir. 1994) (court dismissed parents’ claims that elementary school reading program
indoctrinated children in values “directly opposed to their Christian beliefs”); Grove v. Mead
School Dist. No. 354, 753 F.2d 1528, 1533 (9th Cir. 1985) (school’s inclusion of The Learning
M, a book about secular humanism, in tenth grade curriculum, held constitutional); Hansen v.

Ann Arbor Public Schools, 293 F. Supp. 2d 780, 808-809 (E.D. Mich. 2003) (high school panel

 

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of clergymen espousing tolerance of homosexuality during diversity week held not violative of
plaintiff" s free exercise of Christian beliefs).

Neither the Parkers nor the Wirthlins were compelled to disavow their beliefs that same-
sex marriage is immoral and against God’s law by virtue of the three books included among the
Elementary School reading materials. ln support of their free exercise claim, the Parkers allege
that the subjects addressed in Who’s ln A Family and Mollv’s Familv are of “great concem” to
them and “not consistent” with their own religious beliefs. Further, “they do not wish to discuss
the topic of homosexual marriage or homosexuality” with their children at their current ages.29
The Wirthlins similarly allege that the “theme of romantic physical contact between two men
[presumably as addressed in King and King] is not one that [they] wish to have celebrated and
affirmed to their young, seven-year-old son . . ..” In addition, the Wirthlins “wish to direct the
personal moral and religious views of their own children” and believe that their son is “too
young . . . to be able to comprehend the complexities of such a controversial and advanced
topic.”30

While such “concerns” and “wishes” may be based on plaintiffs’ genuine religious

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beliefs, defendants’ use of diversity reading materials did not threaten the plaintiffs entire way
of life.” The Parkers and Wirthlins are still free to raise their children as they see fit, consistent
with their own moral and religious beliefs. Thus, as the First Circuit noted in M, 68 F.3d at
539, plaintiffs’ free exercise claim is “qualitatively different” from the type of claim the Supreme

Court protected in Wisconsin v. Yoder, 406 U.S. 205, 235 (1972), where enforcement of the

state’s compulsory school attendance law jeopardized the very survival of Amish society. By

 

29 Complaint, 11 28.
30 rd, 1111 55 & 66.

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comparison, any incidental burden placed on the Parkers and Wirthlins by the use of books
acknowledging diversity in sexual orientation did not violate their First Amendment rights. The
mere exposure of their children to beliefs inconsistent with their own did not unduly burden
plaintiffs’ free exercise of religion. See Curtis, 420 Mass. at 758 (exposure to condom vending
machines and condom distribution policy held not an unconstitutional violation of parental
liberties, despite claims that programs offended plaintiffs’ moral and religious sensibilities).

2. Parents ’ Rights to Direct the Upbringing of T heir Children

Nor did defendants’ use of diversity materials violate plaintiffs’ rights to direct the
upbringing of their children or to educate them in accordance with their views. The Supreme
Court has recognized “a fundamental right of parents to make decisions concerning the care,
custody and control of their children.” Troxel v. Granville, 530 U.S. 57, 66 (2000). But while
the right of parents to direct the upbringing of their children extends to public schools, it is not
unqualified

The critical point is this: While parents may have a fundamental right to decide whether

to send their child to a public school, they do not have a fundamental right generally to

direct how a public school teaches their child. Whether it is the school curriculum, the

hours of the school day, school discipline, the timing and content of examinations, the

individuals hired to teach at the school, the extracurricular activities offered at the school

or . . . a dress code, these issues of public education are generally “committed to the

control of state and local authorities.”
Blau v. Fort Thomas Public School Dist., 401 F.3d 381, 395-396 (6th Cir. 2005) (emphasis in
original), quoting Goss v. Lopez, 419 U.S. 565, 578 (1975).

This was the precise holding of the First Circuit Court of Appeals in Brown v. Hot, Sexy

and Safer Prods. lnc., 68 F.3d 525 (1St Cir. 1995), cert. den., 516 U.S. 1159 (1996), decided four

 

years before Troxel. Brown involved an action brought against public school officials and others

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by two students and their parents who objected to the students’ compelled attendance at a
sexually-explicit A]DS awareness program on the grounds that such attendance violated their
substantive due process and privacy rights. After the District Court’s dismissal of the complaint
for failure to state a claim upon which relief could be granted, the plaintiffs appealed. The First
Circuit affirrned. Recognizing that the Fourteenth Amendment protected the parents’ rights to
direct the upbringing of their children, the Court concluded, nonetheless, that such rights were
not violated by the defendants, even if they were fundamental (as the Supreme Court later
decided.) I_d;, 68 F.3d at 533. Although parents have a right to choose a specific educational
program for their children - whether religious instruction at a private school or foreign language
instruction - they do not have a ri ght, ruled the First Circuit, “to dictate the curriculum at the
public school to which they have chosen to send their children.” L
If all parents had a fundamental constitutional right to dictate individually what the
schools teach their children, the schools would be forced to cater a curriculum for each
student whose parents had genuine moral disagreements with the school’s choice of
subject matter. We cannot see that the Constitution imposes such a burden on state
educational systems .. . .

Ld., 68 F.3d at 534.

Numerous courts have followed Brown, even after the Troxel decision. See, gg, Fields

 

 

v. Palmdale School Dist. (PSD), 427 F.3d 1197, 1207 (9th Cir. 2005) (parents’ right to direct
child’s upbringing “does not extend beyond the threshold of the school door”); M, 401 F.3d at
395 -396 (parents’ right does not allow father to except child from school dress code); Pisacane v.
Desjardins, 2004 WL 2339204 (1St Cir. 2004) (unpublished) (parents’ right does not allow
parents to dictate to public school officials regarding use of science textbook); Morrison v. Board

of Ed. ofBovd Ctv., Kv., 419 F. Supp. 2d 937, 945-946 (E.D. Ky. 2006) (parents’ right not

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infringed by mandatory diversity training); Bn§e_n, 293 F. Supp. 2d at 813 (parents’ right not
infiinged by diversity Week program regarding homosexuality).

The plaintiffs here are attempting to do precisely what the First Circuit ruled they have no
right to do _ dictate the content of the Elementary School curriculum to the defendants and,
further, dictate when such material may be taught Plaintiffs’ right to direct the upbringing of
their children does not extend so far. See Mvers v. Loudoun Ctv. School Bd., 251 F. Supp. 2d
1262, 1275-1276 (E.D. Va. 2003), M, 418 F.3d 395 (4th Cir. 2005) (“[T]he fundamental right
to raise one’s children as one sees fit is not broad enough to encompass the right to re-draf`t a
public school curriculum.”)

3 . Substantive Due Process

Nor did defendants’ use of diversity materials violate plaintiffs’ substantive due process
right to be free from conduct that “shocks the conscience.” ln M, the First Circuit pointed
out that it has found “conscience shocking” behavior, as prohibited by the Fourteenth
Amendment, “only where the state actors engaged in ‘extreme or intrusive physical conduct.”’
68 F.3d at 531, quoting Souza v. Pina, 53 F.3d 423, 427 (1St Cir. 1995). Yet, the threshold for
alleging such claims is “high,” in that the defendants’ alleged acts must approach something akin
to “mean-spirited brutality.” E_., at 532. This threshold was not met in _B_rM, where the
defendants’ failure to provide opt-out procedures for students not wishing to attend a “sexually
explicit A[DS awareness assembly” at school may have “displayed a certain callousness towards
the sensibilities of minors,” but was not otherwise “conscience shocking.” I_d. If the sexually
explicit AIDS awareness assembly challenged in w did not meet the test of “mean-spirited

brutality,” then surely the exposure of plaintiffs’ children to three simple story books cannot

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shock the conscience as a matter of law. Thus, the defendants’ alleged conduct was not so
“conscience shocking” as to merit constitutional protection See Chong_r_is, 811 F.2d at 43 (bad
faith violation of state law by municipal officials held insufficient to support substantive due
process claim).

4. “Hybrid Rights ”

As set forth above, the plaintiffs contend that the synergism between their free exercise
rights, their right to direct the upbringing of their children, and their substantive due process
rights, lends constitutional protection to the combination, even though each right on its own may
not be so protected. ln short, plaintiffs maintain that their claim presents a “hybrid situation,”
requiring strict scrutiny of the defendants’ policy. To assert a “hybrid rights” claim, “a free
exercise plaintiff must make out a colorable claim that a companion right has been violated - that
is, a fair probability or a likelihood, but not a certitude, of success on the merits.” Miller v.
B§gd, 176 F.3d 1202, 1207 (9th Cir. 1999). See Harper v. Powav Unified School Dist., 445 F.3d

1166, 1187 (9th Cir. 2006); Green v. Citv of Philadelphia, 2004 WL 1170531, at *7 (E.D.Pa.

 

2004). The plaintiffs fail to do so. As set forth above, the right of parents to direct the
upbringing of their children does not extend to the dictation of school curriculum. Moreover,
defendants’ alleged conduct can, under no set of circumstances, be considered “conscience
shocking” for the purposes of invoking plaintiffs’ Fourteenth Amendment protection. With no
colorable claim to combine with their free exercise claims, the plaintiffs fail to establish any

“hybrid rights” to be tested under a strict scrutiny analysis. See Brown, 68 F.3d at 539 (hybrid

 

exception held inapplicable absent privacy or substantive due process claim); Swanson v.

Guthrie Ind. School Dist. No. 1-L, 135 F.3d 694, 697-698 (10th Cir. 1998) (“Plaintiffs have

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shown no colorable claim of infringement on the constitutional right to direct a child’s education.
Accordingly, we hold that this is not a hybrid-rights case.”); Hicks v. Halifax Cty. Bd. of Ed.,
1999 WL 1940002, at *7 (E.D.N.C. 1999) (since parent’s right to direct upbringing of son was
not infringed by school uniform policy, case did “not implicate the ‘hybrid’ path of religious
freedom left narrowly open by Sm_ith.”)

Tested instead under a rational basis test, defendants’ use of the identified books must be
held to pass constitutional muster. (See Section III(A)(l) above.) Count l of the plaintiffs’
Complaint should, therefore, be dismissed.

B. Defendants Did Not Unlawfully Interfere With Plaintiffs’ Constitutional
Rights Through “Threats, Intimidation or Coercion.”

ln Count ll of their Complaint, plaintiffs allege that defendants’ interference with their
constitutional rights was accomplished through “threats, intimidation and coercion” and,
therefore, plaintiffs are entitled to relief under M.G.L. c. 12, §§ llH & 111, the Massachusetts
Civil Rights Act (“MCRA.”)3 1 The purpose of MCRA was to provide a state remedy for
deprivations of civil rights that extends beyond federal remedies by doing away with the need for

state action. Batchelder v. Allied Stores, 393 Mass. 819, 821 (1985). Thus, MCRA and the

 

federal civil rights remedies are coextensive I_d. For the following reasons, however, the
plaintiffs fail to state a claim for relief under MCRA. As a result, Count ll must be dismissed.

First, as set forth above, plaintiffs’ constitutional rights were not interfered with by the
defendants. Defendants’ use of diversity reading materials in the Elementary School curriculum
was conducted pursuant to a neutral, generally applicable policy that did not unreasonably

burden plaintiffs’ free exercise of religion. Moreover, the curriculum policy was rationally-

 

31 Complaint, 1111 78 & 79.
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related to defendants’ legitimate interests in teaching Lexington students about diversity in a
respectful environment free from discrimination based on race, gender, color, religion, sexual
orientation or disability, Furthermore, plaintiffs’ fundamental rights to direct the upbringing of
their children were not compromised by defendants’ selection of reading materials for Estabrook
students, nor were plaintiffs’ substantive due process rights to be free from “conscience
shocking” behavior even remotely implicated by defendants’ failure to provide opt-out
procedures to the Parkers and Wirthlins before exposing their children to Who’s ln A Family,

Mollv’s Familv or King and King. In other words, for the same reason plaintiffs cannot recover

 

under Count I, they cannot recover under Count II.

Second, even if plaintiffs were deprived of a constitutional right (which defendants deny),
such deprivation was not accomplished through “threats, intimidation and coercion.” Under
Massachusetts law, a “threat” is the intentional exertion of pressure to make another fearful or
apprehensive of injury or harm. Redgrave v. Boston Symphonv Orchestra, Inc., 399 Mass. 93,
104 (1987). “Intimidation” involves “putting [another] in fear for the purpose of compelling or
deterring conduct.” Planned Parenthood League of Mass., Inc. v. Blake, 417 Mass. 467, 474
(1994). To be recoverable, a “threat” or “intimidation” must arise in the context of an actual or
potential physical confrontation Bally v. Northeastem Univ., 403 Mass. 713, 718-720 (1989);
Tedeschi v. Reardon, 5 F. Supp. 2d 40, 46 (D. Mass. 1998). “Coercion” is “the application to
another of such force, either physical or moral, as to constrain him to do against his will
something he would not otherwise have done.” Planned Parenthood, 417 Mass. at 474; w
Dempsey, 403 Mass. 468, 471 (1988). Thus, to be liable under MCRA for unlawful coercion, a

defendant must force, or seek to force, the plaintiff “to do or not to do something . . .” against his

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or her will. Pheasant Ridge Assoc. Ltd. v. Town of Burlington, 399 Mass. 771, 781 (1987).32

Defendants’ inclusion of diversity materials in the Elementary School curriculum was
unaccompanied by threats, intimidation or coercion of any nature whatsoever _ whether physical
or otherwise. The teaching of diversity and tolerance through the use of books depicting same-
sex couples and a gay marriage was designed solely to accomplish the stated goals of the

Commissioner of Education and Lexington Public Schools - i.e., “to inculcate respect for the

 

cultural, ethnic and racial diversity of the Commonwealth . . . [without] . . . perpetuating gender,
cultural or racial stereotypes.” M.G.L. c. 69, § 1D.33 Thus, defendants’ curriculum was neither
compelling nor coercive such that students were taught only one “correct” view with regard to
families or relationships. On the contrary, the lesson was one of inclusion of various parent
figures and community members.34 Without evidence that plaintiffs Were either forced to do or
constrained from doing something against their will, their MCRA claims cannot prevail.35
Third, no MCRA claim may be brought against a municipality since a city or town is not
a “person” subject to suit under MCRA. Howcroft v. Citv of Peabodv, 51 Mass. App. Ct. 57 3,

591-5 92 (2001). Thus, the defendant, Town of Lexington, and the remaining defendants in their

 

32 The Supreme Judicial Comt recently expanded MCRA’s scope by ruling that, “[i]n certain
circumstances . . .,” economic coercion may be actionable without an actual or potential physical confrontation
Buster v. George W. Moore, lnc.. 438 Mass. 635, 648 (2003). This expansion, however, has no application here,
where the plaintiffs make no allegation of harm to their economic interests.

3 .

Complaint, 11 26.
4 r_d,1111 26, 40 & 43.

35 Although Mr. Parker details, at great length, certain measures he took in an effort to convince school
personnel that their position was in violation of his religious beliefs and rights, see @, 1111 38 & 39; he does not seek
recovery in this action for false arrest or unreasonable search and seizure. Nor does he assert any claim against the
Lexington Police Department or any of its officers. Indeed, Mr. Parker admits that when school officials refused to
agree to a “temporary plan,” as proposed by him and his wife, he simply became “frustrated by the turn of events,
refused to leave the school and was arrested for trespassing by the Lexington Police Department.” L, 11 38. Hence,
Mr. Parker was not threatened or intimidated because of his religious beliefs; rather, he was arrested for his own
refusal to leave school property. Even if Mr. Parker’s arrest was wrongful, which the defendants deny, a direct
violation of law does not, by itself, involve threats, intimidation or coercion and, thus, does not implicate MCRA.
Longval v. Commissioner of Corrections, 404 Mass. 325, 333 (1989); Delaney v. Chief of Police of Wareharn, 27

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official capacities, are not proper defendants under Count 11.
For the foregoing reasons, this Court should dismiss Count 11 _ plaintiffs’ MCRA claim -
for failure to state a claim upon which relief can be granted,

C. Massachusetts Opt-out Statute Does Not Create a Private Right of Action
Enforceable by Plaintiffs.

1n Count 111 of their Complaint, the plaintiffs seek recovery for the defendants’ alleged
violation of M.G.L. c. 71, § 32A, the so-called Opt-out Statute adopted by the Legislature as a
parental notification law in 1996. The Opt-out Statute provides, in part, as follows:
Every city, town, regional school district or vocational school district implementing or
maintaining curriculum which primarily involves human sexual education or human
sexuality issues shall adopt a policy ensuring parental/guardian notification Such policy
shall afford parents and guardians the flexibility to exempt their children from any
portion of said curriculum through written notification to the school principal No child
so exempted shall be penalized by reason of such exemption
To the extent practicable, program instruction materials for said curricula shall be made
reasonably accessible to parents, guardians, educators, school administrators, and others
for inspection and review.
The Statute further requires the Department of Education to “promulgate regulations for
adjudicatory proceedings to resolve any and all disputes arising under this section.” Ld.
(emphasis added).36 1t makes no provision whatsoever for relief beyond such “adjudicatory
proceedings” against a “city, town, regional school district or vocational school district” that
either fails to adopt a notification policy, or fails to follow such a policy once it is adopted.

Plaintiffs admit that Lexington adopted a policy implementing Section 32A.37 Yet

plaintiffs do not allege that defendants breached this policy; instead, plaintiffs claim they had “a

 

Mass. Ap . Ct. 398, 409 (1989).
6 Such regulations appear at 603 C.M.R. §§ 5.01, et seq.
37 In Paragraph 43 of their Complaint, plaintiffs quote a statement issued by Superintendent Ash citing
Lexington’s Opt-out Policy. Although plaintiffs criticize said statement in the following Paragraph as “inaccurate”
and “demean[ing],” they do not challenge the existence of the Opt-out Policy. Complaint, 11 44.

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right [under M.G.L. c. 71, § 32A] to be notified and to excuse their children from [the
Elementary School] curriculum.”38 lt was defendants’ alleged breach of “this right” - L, the
statutory right to be notified and to excuse their children _ that allegedly “caused the plaintiffs
great damage” for which they now seek recovery under Count 111.39

The defendants deny that the books Who’s 1n A Familv, Molly’s Family or King and
Ki_ng involve “human sexual education” or “human sexuality issues.” Even if such education or
issues are indeed raised, these three works do not “primarily involve human sexual education or
human sexuality issues” within the meaning of Section 32A. “Primarily” means “chiefly,
mainly.” Town of Eastham v. Clancv, 44 Mass. App. Ct. 901 (1997), citing American Heritage
Dictionary_ (3d ed. 1992). The DOE defines “curriculum that primarily involves human sexual
education or human sexuality issues” as:

[C]ourses (typically, sex education or discrete units of a health education or biology

course), school assemblies or other instructional activities and programs for which the

instruction and materials focus principally on human sexual education, the biological

processes of human reproduction and sexual development, or human sexuality issues.
603 C.M.R. § 5.02. King and King, even as described in plaintiffs’ Complaint, no more
“primarily involves human sexual education or human sexual activity” than Snow White and the
Seven Dwarfs, Cinderella, Sleeping Beautv, Beauty and the Beast or The Princess and the Pea,
all of which similarly involve romance. Simply because the characters who live happily ever
after at the close of the story40 happen to be members of the same gender does not mean the book

either “chiefly” or “mainly” involves sex. King and King was included among the available

reading materials to advance the goal of teaching diversity and tolerance as expressly encouraged

 

38 I_d., tt 83.
39 1_<1.,1184.
4° 1_<1.,1153.

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and endorsed by the Cennntsstener er Edneatten and DoE. see M.G.L. e. 69, §§ 1D & 1E.41

Even if the defendants breached their statutory duty to notify the Parkers and Wirthlins
(which the defendants deny), the plaintiffs cannot bring a private right of action to recover under
M.G.L. c. 71, § 32A. To determine whether a state statute creates a private right of action,
federal courts look to the interpretations of that statute by the state courts. See Morley-Murphy
Co. v. Zenith Electronics Corp., 142 F.3d 373, 376 (7th Cir. 1998); Martin v. Northwestem Mut.
Life. Ins. Co., 2006 WL 897751 *3 (E.D. Wis.) This Court, therefore, must look to
Massachusetts decisions on the issue of implying private ri ghts of action under Massachusetts
statutes.42

According to the SJC, no private right of action can be inferred from a state statute absent
clear legislative intent to support such a remedy. Loffredo v. Center for Addictive Behaviors,
426 Mass. 541, 546-547 (1998). In Loffredo, the SJC declined to create a private right of action
from a state statute governing licensing and approval of drug treatment facilities where no
language in the statute, nor any related parts of the statute, evinced a legislative intent to do so.
I_d., at 546. The Court’s decision was also based on the Legislature’s express contemplation of
other remedies to address violations of the statute _ to wit, the suspension, revocation or limiting
of a license. Ld., at 546-547. Loffredo is consistent with other Massachusetts decisions wherein

the courts have consistently refused to imply a private right of action from a statute absent clear

 

41 On July 26, 2004, the Commissioner issued a written decision to a parent of a student enrolled in the
Bedford Public Schools on an appeal taken by the parent under the Opt-out Statute pursuant to 603 C.M.R. §
5.04(1). In his decision, the Commissioner ruled that a skit portraying a homosexual student and the difficulties he
faced in school due to his sexual orientation was part of a curriculum that did not “primarily involve human sexual
education or human sexual activity.” Rather, it was part of a school-wide mandatory assembly designed to address
issues of harassment and discrimination within the school and the community. Accordingly, Bedford did not violate
the parent’s or student’s rights under the Opt-out Statute by failing to give the parent prior notification of the
assembly. A copy of the Bedford decision is attached hereto as “C.”

42 The four-step analysis of Cort v. Ash, 422 U.S. 66 (1975), is employed only to determine whether a

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legislative intent. See, gg, Borucki v. Ryan, 407 Mass. 1009 (1990) (no private right of action
implied in statute prohibiting disclosure of competency reports); Unitrode Corp. v. Dynamics
M, 379 Mass. 487, 491-493 (1980) (no private right of action for equitable or injunctive relief
implied from corporate take-over statute); Lindsey v. Massios, 372 Mass. 79, 84 (1977) (no
private right of action implied from safety statute); Johnson v. United States Steel Corp., 348
Mass. 168, 169-170 (1964) (no private right of action implied from age discrimination statute).
Guided by the touchstone of legislative intent, it is clear that no private right of action
may be implied from the language of the Opt-out Statute. ln requiring the DOE to promulgate
regulations to resolve “any and all disputes” regarding the Opt-out Statute, the Legislature made
clear its desire that such disputes be resolved in accordance with DOE procedures. The stated
purpose of the DOE regulations is to “encourage local resolution of disputes arising under
M.G.L. c. 71, § 32A, and to provide for resolution by the Department of Education only when
those disputes cannot be resolved by the parties at the local school or school district level.” 603
C.M.R. § 5.01(3). Thus, the DOE regulations create a detailed system whereby a parent
dissatisfied with a school principal’s decision under M.G.L. c. 71, § 32A, may engage in a
dispute resolution process with the school superintendent 603 C.M.R. § 5.03(1). If a parent is
dissatisfied with the superintendent’s decision, the parent has a right to seek further review from
the local school committee 603 C.M.R. § 5 .03(3). If a parent is dissatisfied with the school
committee’s decision, he or she may then submit a written request for review to the
Commissioner, 603 C.M.R. § 5 .04(1), who, in tum, will determine the process to be followed to
resolve the dispute including, but not limited to, alternative dispute resolution and mediation

603 C.M.R. § 504(2). If the matter cannot be resolved by the Commissioner, “[t]he

 

private right of action may be implied under federal law.

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Commissioner shall designate a hearing officer who will conduct an adjudicatory hearing in
accordance with 801 C.M.R. § 1.00, the Standard Adjudicatory Rules of Practice and
Procedure.” 603 C.M.R. § 504(3).

“Where a statute expressly provides a particular remedy or remedies, a court must be
chary of reading others into it.” Loffredo, 426 Mass. at 547, quoting Transamerica Mtge.

Advisors Inc. v. Lewis, 444 U.S. 11, 19 (1979). The DOE regulations make no mention of a

 

private right of action On the contrary, by detailing a process for the resolution of “any and all
disputes,” the Legislature expressed its clear intent that disputes regarding M.G.L. c. 71, § 32A,
be resolved at the local and agency levels, not in the courts.43

For the foregoing reasons, this Court should dismiss Count 111 of the plaintiffs’
Complaint for the failure to state a claim upon which relief can be granted.

D. Defendants Did Not Unlawfully Conspire to Deprive Plaintiffs of Their
Constitutional Rights.

1n Count IV of their Complaint, plaintiffs allege that defendants conspired to deprive
them of their constitutional rights, and that such conspiracy resulted in damages recoverable
under 42 U.S.C. § 1983. A conspiracy is actionable under Section 1983 where “a combination of
two or more persons [act] in concert to commit an unlawful act, or to commit a lawful act by
unlawful means, the principal element of which is an agreement between the parties ‘to inflict

the wrong against or injury upon another,’ and ‘an overt act that results in damages.”’ Earle v.

 

43 Although M.G.L. c. 71, § 32A, is silent regarding a private right of action, another provision of Chapter
71 - Section 34B - clearly allows for an action to be brought in Superior Court. M.G.L. c. 71, § 34B, states that,
should a person operating or maintaining an educational institution refuse or neglect to furnish a written transcript to
a requesting student or former student, “the student or former student . . . may present to the superior court . . . a
petition addressed to said court and praying for such relief as it may deem proper in the circumstances . . ..” Had the
Legislature intended to grant jurisdiction to the Superior Court (or to any other court of the Commonwealth) over
disputes arising under M.G.L. c. 71, § 32A, it could have included in Section 32A language similar to that included
in M.G.L c. 71, § 34B. It did not do so.

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B_e_n_oi_t, 850 F.2d 836, 844 (151Cir. 1988), citing Hampton v. Hanrahan, 600 F.2d 600, 620-621
(7th Cir. 1979). ln order to survive a motion to dismiss, however, it is not sufficient for a plaintiff
merely to assert conclusory allegations of conspiracy; she must instead state with specificity the
facts that, in plaintiff’ s mind, show the existence and scope of the alleged conspiracy. M
v. Staviskey, 560 F.2d 31, 34 (151Cir. 1977); Gallther v. Commonwealth, 2002 WL 924243 (D.
Mass. 2002) (“Conclusory allegations of conspiracy, without supporting material facts, will not
suffice.”)

Here, the plaintiffs do not set forth the facts of a conspiracy with sufficient specificity.
They allege no agreement among the defendants to commit unlawful acts, nor do they identify
the precise conduct allegedly engaged in by the defendants in pursuit of their unlawful
conspiracy. Where a conspiracy allegation is “perfunctory,” and “specifics as to the details of
the alleged conspiracy or the predicate acts committed in pursuit thereof ’ are lacking, a
conspiracy claim will not withstand a motion to dismiss. Miranda v. Ponce Federal Bank, 948
F.2d 41, 48 (1st Cir. 1991).

Further, as set forth above, the defendants’ acts were not unconstitutional or unlawful.
Thus, even if two or more defendants acted in concert so as to deny plaintiffs’ opt-out “rights”
vis-a-vis the Elementary School reading materials, such concerted action cannot give rise to a
conspiracy claim under Section 1983. This Court, therefore, should dismiss Count IV of the
plaintiffs’ Complaint for the failure to state a claim upon which relief can be granted.

E. The Individual Defendants are Entitled to Qualified Immunity as Against
Plaintiffs’ Civil Rights Claims.

Even if the individual defendants deprived plaintiffs of their constitutional rights by using

the identified books as part of the Elementary School curriculum without giving the Parkers and

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Wirthlins an opportunity to opt-out, the individual defendants remain protected from liability for
damages under the defense of qualified immunity. Qualified immunity shields government
officials performing discretionary fianctions from civil damages “insofar as their conduct does
not violate clearly established statutory or constitutional rights of which a reasonable person
would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1992); Febus-Rodriguez v.
Betancourt-Lebron, 14 F.3d 87, 91 (1St Cir. 1994) (“the relevant question is whether a reasonable
official could have believed his actions were lawful in light of clearly established law and the
information the official possessed at the time of his allegedly unlawful conduct.”) Qualified
immunity “gives ample room for mistake in judgments by protecting all but the plainly
incompetent or those who knowingly violate the law.” Lowinger v. Broderick, 50 F.3d 61 , 65
(1St Cir. 1995), quoting Hunter v. Bryant, 502 U.S. 224, 228 (1991) (per curiam). “A reasonable
although mistaken conclusion about the lawfiilness of one’s conduct does not subject a
government official to personal liability.” E. Moreover, qualified immunity protects the
individual under both Section 1983 and MCRA. Rodriguez v. Furtado, 410 Mass. 878, 882
(1991); Duarte v. Healy, 405 Mass. 43, 46 (1989).

1n designing a curriculum for Lexington Elementary School students, in selecting grade-
appropriate reading materials to be used in teaching that curriculum, and in concluding that the
materials so selected did not “primarily” involve human sexual education or human sexuality
issues thereby invoking the notification provisions of the Massachusetts Opt-out Statute,
Lexington school officials were operating in the realm of discretion Thus, their decisions, even
if unconstitutional (which the defendants deny) are protected from both suit and liability.

After first determining whether plaintiffs’ allegations establish a constitutional violation,

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this Court must next determine whether the constitutional right was clearly established at the
time of the violation Mihos v. Swift, 358 F.3d 91, 102 (1St Cir. 2004). lf so, it must further
decide “whether a similarly situated reasonable official would have understood that the
challenged action violated the constitutional right at issue.” 1_d.

“The inquiry into the nature of a constitutional right for the purpose of ascertaining clear
establishment seeks to discover whether the right was reasonably well settled at the time of the
challenged conduct . . ..” Martinez v. Colon, 54 F.3d 980, 988 (1St Cir. 1995). Further, such
inquiry “must be undertaken in light of the specific context of the case, not as a broad general
proposition” Suboh v. District Attorney’s Office of Suffolk Dist., 298 F.3d 81, 93 (1$1Cir.
2002). “lf the operative legal principles are clearly established only at a level of generality so
high that officials cannot fairly anticipate the legal consequences of specific actions, then the
requisite notice is lacking.” Savard v. Rhode lsland, 338 F.3d 23, 28 (151. Cir. 2003), cert. den.,
540 U.S. 1109 (2004). Here, the right of a parent to dictate curriculum to a public school - either
for religious reasons or because of a protected right to direct the upbringing of his or her child -
was by no means “reasonably well settled” at the time Lexington officials chose to include the
challenged books in the Elementary School classroom. On the contrary, the decisions of BrM
and its progeny clearly indicate that plaintiffs’ rights do not extend so far.

To determine the next step _ the understanding of an objectively reasonable official - it is
necessary to consider the alleged misconduct from the perspective of the individual defendants

Thus, even if Lexington officials erred - i.e., if they violated plaintiffs’ clearly-established

 

constitutional rights -the defendants are still immune if their mistake as to what the law required

was reasonable. Saucier v. Katz, 533 U.S. 194, 205 (2001). Here, given the difficulty of

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interpreting and protecting plaintiffs’ so-called “hybrid ri ghts” in an arena where public school
officials are expressly encouraged by the Commonwealth to teach diversity and tolerance at the
earliest grade levels, where the SJC recently upheld same-sex marriages as constitutional, see
Goodridge v. Department of Public Health, 440 Mass. 309 (2003), and where application of the
relatively new Opt-out Statute is limited solely to curricula “primarily” involving human sexual
education or human sexuality issues, it cannot be said that no reasonable official in the position
of the defendants could have believed that his or her actions were lawful. As a result, the
individual defendants are entitled to qualified immunity. Counts 1, 11 and IV of plaintiffs’
Complaint as against them must be dismissed.

IV. CONCLUSION

For the reasons stated above, the plaintiffs fail to state a claim against the defendants
upon which relief can be granted. Therefore, this Court should dismiss plaintiffs’ Complaint
pursuant to Fed. R. Civ. P. 12(b)(6).

The defendants,
WILLIAM HURLEY, et al.,

By their attomeys,
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EXHIBIT “A”

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EXHIBIT “B”

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Massachusetts
Comprehensive
Health
Curriculum

Framework

 

 

 

October 1999

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MASSACHUSETTS COl\/.[PREHENSIVE HEALTH
CURRICULUM FRAMEWORK

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D Resources for Health Education

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Massachusetts Comprehensive Health Curriculum Framework

ll INTRODUCTION §

The purpose of the Massachusetts Comprehensive Health Curriculum Framework is to
provide guidance for Massachusetts school districts in the acquisition of the knowledge, skills,
and habits needed by students Comprehensive health education includes health education,
physical education, and family and consumer sciences education Teachers within these subjects
need to work collaboratively with counselors, school nurses, nutrition services staff, other
teachers, families, and students from pre-kindergarten through grade 12.

The Framework synthesizes current research and sets learning standards for students
from pre-kindergarten through grade twelve. The Framework presents a broad outline upon
which Massachusetts school health curricula, instruction, and locally designed and administered
assessments can be based.

 

 

Organization of the Health Curriculum Framework

0 The Core Concept presents the fundamental purpose of a comprehensive health curriculum.

v The Guiding Principles direct and inform health education and the building of school
communities that promote the health and well being of students, families, teachers, and staff.

¢ The Strands organize the areas included in comprehensive health education as
outlined in the Massachusetts General Laws, particularly Chapter 71. (see Appendix B)

v The PreK-12 Standards define topic oriented content and set expectations for knowledge
and skills that students should acquire from their study in health.

0 The Learning Standards reflect measurable student competencies and are grade span
specific (PreK-5, 6-8, 9-12). Selected examples are provided in the Framework.

This Health Framework is built upon the work of the panel who developed the first
Health Framework. The current Health Framework was developed by a committee of
Massachusetts teachers of health, physical education, family and consumer sciences, health
educators from higher education, physicians, and school nurses. The Health Framework is
intended to be used in conjunction with the other Massachusetts Curriculum Frameworks to
make connections among all subjects

There are specific areas of particular relevance to health education Two of these that are
notable are the links between health and school performance, and health education and family
involvement

Education in all subjects can be more effective when health is a priority throughout the
school. Health and learning are closely related. Students who are unhealthy or troubled are
students whose learning may not be optimal. Because good health is linked with better school
performance, schools have a vested interest in preventing risk behaviors that have a negative
impact on health. 1 For example, students who use tobacco products can experience difficulty
concentrating Alcohol and drug use impairs the brain’s ability to process information form
memories, and recall information Teen pregnancy is related to dropping out of school. Poor
nutrition decreases cognitive functioning in the areas of language, concentration alertness, and
attention

 

1 The following research is cited in the Ref`erences and Sources ofthe Framework_

Introduction

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Massachusetts Comprehensive Health Curriculum Framework

Some students who have participated in school health education programs, compared to
similar students who have not participated in such programs, have increased cognitive
development and awareness, better school attendance, higher graduation rates, increased goal-
setting, and better application of decision-making skills Certain components of the school
health program have also been found to be related even more directly to school performance F or
example, after controlling for other explanatory factors, participation in school breakfast
programs was associated with increased scores in mathematics, language, and reading, and with
decreases in school absence and tardiness Similar results have been found with students who
participated in more comprehensive school health programs For example, students at risk for
school failure who participated in school-linked health and human services had improved grades
and earned more credits compared to similar peers who did not receive such services

Even as adults, education is related to less involvement in certain risk behaviors and
higher participation in healthy behaviors The results of a recent survey conducted by the
Massachusetts Department of Public Health among Massachusetts adults found a relationship
between more years of education and several health related behaviors, such as lower rates of
smoking, eating the recommended daily allowance of fruits and vegetables, and participation in
recommended levels of physical activity.

Today, Massachusetts students face many potential health problems related to their social
environment, but the risk behaviors associated with these problems are largely preventable
Comprehensive health education addresses the knowledge and skills for both reducing risk
behaviors and increasing actions and habits that increase wellness.

A major component of comprehensive school health education is parental and family
involvement Parents and families are their children's first and continuing teachers and they
influence the health decisions that are made by their children F arriin and community
involvement is important in the planning of appropriate health education and in strengthening
health lessons and skills development, Schools have historically worked side by side with
families and communities to promote acceptable standards of conduct and the attributes that
foster them, such as civility and being responsible for one’s actions Health education supports
this through an emphasis on skills of decision-making, problem-solving, and critical thinking for
responsible conduct.

Comprehensive health education occurs in relation to many contextual factors Health
sometimes involves sensitive topics that may have social, economic, genetic, or religious
implications Of note, Massachusetts public schools must notify parents before implementing
curriculum that involves human sexuality. The approach of the Massachusetts Comprehensive
Health Curriculum Framework is to encourage each district to work with farriin and community
members in the development and implementation of the health education curriculum in the
schools of that district.

Introduction 2

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Massachusetts Comprehensive Health Curriculum Framework

11 Coiz'ii coNCEPT 1

Through health literacy, self-management skills, and health promotion comprehensive
health education teaches fundamental health concepts, promotes habits and conduct that enhance
health and wellness, and guides efforts to build healthy families, relationships schools, and
communities

Health Literacy focuses on acquisition of knowledge and includes:

0 the capacity to obtain understand, and evaluate health information and services;
0 learning about physical changes and how the body functions; and
0 knowledge of the relationship between movement and health.

Through reading, observation discussion and actions students learn to locate information
and assess its reliability, make reasoned decisions based on accurate information and apply their
knowledge to their own health and safety. Students learn what it is to be healthy, about
development, and about the importance of physical fitness in their overall level of health and
welhiess. Health literacy is critical for healthy self-management and health promotion

Healthy Self-Management enables students to:

0 integrate and apply knowledge and skills With respect to their health-related decisions,
actions, and conduct;

0 learn to assume increased responsibility for their healthrelated decisions, actions, and
conduct; and

0 consider potential consequences and evaluate outcomes

Healthy self-management entails self-assessment, goal setting, and decision-making
based on an understanding of risk and probability. By practicing a repertoire of developmentally
appropriate behaviors that promote health, students can significantly increase the likelihood of
good physical, emotional, cognitive, social, and environmental health.

Health Promotion helps students demonstrate:

0 competence in using information and services;
0 how to present accurate information about health; and
0 the capability to respond to health concems, including emergencies

Knowledge and good communication skills are critical to health promotion Students
learn how to present factual information about health in ways that promote responsible actions
while still considering the rights of individuals Health promotion can take many forms By
contributing to improvements in the health of the natural environment and the physical safety of
their communities, students learn what can be accomplished by an individual as well as by a
group. Students work with families, school staff, and community members to determine concrete
steps they can take to build a strong social fabric that fosters positive growth and development

Fundarnental health knowledge and skills need to be taught starting in pre-kindergarten
and early elementary years, and reinforced and expanded regularly in subsequent grades A
planned, sequential curriculum addresses a variety of topics with increasing degrees of
complexity appropriate to students’ developmental levels as they move from early to middle
childhood and then into adolescence. Such a program ensures thorough, balanced coverage of
health content areas, and its success relies on skilled teachers who readily adapt to incorporate
emerging health topics

 

 

Core Concept 3

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Massachusetts Comprehensive Health Curriculum Framework

 

 

GUIDING PRINCIPLES ()F COMPREHENSIVE HEALTH

EDUCATION IN MASSACHUSETTS

 

GUIDING PRINCIPLE I

 

 

Comprehensive health education provides a foundation in public health, medical
knowledge, and modes of inquiry into how individuals and societies acquire their health-related
knowledge, and empowers students to change unhealthy attitudes and behaviors Students learn
factual information and develop skills for finding and evaluating information and resources, for
making decisions, and for setting goals to promote their own health and the health of others
These others may include family, friends, coworkers, neighbors, etc. Physical education focuses
on body dynamics, movement, physical fitness, competition and teamwork. Family and
Consumer Sciences education examines the concepts of personal living, family life, parenting,
work, nutrition and consumerism.

Health education, physical education and family and consumer sciences education each
contribute to comprehensive health education Together they increase students' knowledge of
health concepts, life management skills, and habits that can facilitate lifelong health for the
individual and for others To be most effective, health should be taught regularly, beginning with
a student's entry into school and continuing through grade l2. A sequential curriculum
introduces concepts and skills in the early grades and reinforces them with more detailed and
complex information and skills in the later grades

GUIDING PRINCIPLE II

 

 

Comprehensive health education equips students to assess risks in an informed manner in
their everyday lives Students learn how to identify and evaluate various types and degrees of
health risk and become aware of specific behaviors that pose risks for themselves and others,
now and in the future Students learn how to determine the likely consequences of their actions

Guiding Principles 4

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Massachusetts Comprehensive Health Curriculum Framework

and how to determine which information is needed to assess health risks and to make responsible
decisions Influences on personal health, including why people relapse into unhealthy conduct
and behaviors and how relapse can sometimes be prevented, are important health concepts

Comprehensive health education teaches students to inquire and solve problems
competently Students set goals, appraise risks, and demonstrate behaviors and conduct that
protect and enhance their health. ln this way, and in partnership with families and communities,
health education supports the resilience of students

GUIDING PRINCIPLE III

 

Comprehensive health education teaches students to identify health information and
resources that are current and applicable to their lives Students learn the types of questions to
ask and information to provide when talking with health professionals

In our society, health information is communicated through a variety of means, such as
through health care providers, the media, including professional publications, and health-related
events Through health education students acquire media literacy by learning to determine if
health information is accurate, With whom to share health information and how to avoid
communicating inaccurate information Health education provides criteria for interpreting
conflicting health research and in finding resources for independent research into health topics

GUIDING PRINCIPLE IV

 

Comprehensive health education provides opportunities for students to join with their
families, peers, school staff, and community members to build safe schools and communities
As with the other Frameworks, health contributes to learning about similarities and differences
among students

Health education helps students recognize that personal health is part of the dynamic
interaction between individuals and their social environments Students study ways in which
peers, families, mentors, groups, and institutions foster healthy attitudes and expectations of
success Students examine protective factors that support healthy behaviors and habits Students
learn how health promotion is related to caring appropriately for their own health needs and

Guiding Principles 5

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Massachusetts Comprehensive Health Curriculum Framework

showing others how to maintain and improve their health. Comprehensive health education
supports the connections between physical, emotional, cognitive, and social health.

Health education helps students recognize conditions that would make their school safe
and accepting of the dignity and worth of all individuals regardless of race, gender, disability,
sexual orientation religion or social or economic background Students learn about the kinds of
activities that build trust and community, the importance of a broad coalition in these activities,
and how to make known the presence of support services in their school and community.

GUIDING PRINCIPLE V

 

The components of a coordinated school health program include classroom-based
education as well as program components that are support or service oriented. (see Fz`gure 1)
Classroom-Based Education
¢ Comprehensive Health Education (PreK-12)
- Health Education
- Physical Education
- Family and Consumer Sciences Education
Support and Service Components
Food and Nutiition Services
Health Services
Counseling, Psychological, and Social Services
Parent, Family, and Community Involvement
Health Promotion for Staff
Safe and Healthfill School Environment
Health education physical education and family and consumer sciences teachers collaborate
with other school health program staff to connect students with services and activities and
provide a healthy school environment for students When these components are linked in a
planned, coherent, mutually supportive system, they reinforce health knowledge and skills as
well as attitudes and behaviors that help students stay healthy
For example:

¢ Health services, food and nutrition services, and psychological and counseling services
provide direct services to students

¢ Health education involves families in the life of the school, helping them to support students'
academic achievement and health.

¢ Health promotion programs for staff enable teachers and other staff members to recognize
the importance of lifelong health, and to model healthy behaviors for students

A safe and healthy school environment is a necessity for successful teaching and
leaming. When instruction and services work together, they can build alliances with the
community that improve physical, educational, and social outcomes for all students The district

Guiding Principles 6

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Massachusetts Health Curriculum Framework Physical Health Strand

 

REPRODUCTION/SEXUALITY

 

 

Reproduction/Sexuality involves physical development, emotions, and social
elements lnstruction incorporates aspects of biology7 psychology, sociology, literature, the
arts, and philosophy

The study of Reproduction/Sexuality provides young people with the knowledge and
skills necessary to make informed choices lt addresses decisions about abstaining from and
postponing sexual intercourse Knowledge about how to avoid sexually transmitted
infections that endanger one’s health and well being as well as that of a partner is an
important component of instruction Communication skills can support such decisions
Addressiiig Reproduction/Sexuality in an appropriate and factual fashion leads to informed
young people, increasing the likelihood of students making healthy decisions lt is
particularly important in Reproduction/Sexuality to consider developmental appropriateness
Topics generally covered in Reproduction/Sexuality include: Development and Wellness.

Note: Please see parental notification law in Appendix B, p. 69.

PreK-12 Standard 4: Reproduction/Sexualig

Students will acquire the knowledge and skills necessary to make effective personal
decisions that promote their emotional, sexual, and reproductive health.

Reproduction/Sexuality 21

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Massachusetts Health Curriculum Framework Physical Health Strand

Leaming Standards: Reproduction/S£§ualitv

 

 

 

 

 

PreK_§ Development
4.1 Identify the components, fruictions7 and processes of the reproductive systern.
4.2 Identify the physical changes as related to the reproductive system during
puberty.
4.3 Define sexual orientation using the correct terminology (such as heterosexual, and
gay and lesbian).
Wellness
4.4 Recognize that diet, exercise, rest, and avoidance of risk behaviors such as
smoking, drinking, and other substance use contribute to the health of a mother
and fetus
6~8 Development
4.5 Recognize the emotional and physical changes as related to the reproductive
system during puberty. `
Wellness
4.6 Explain the benefits of abstinence, postponing sexual behavior, and setting limits
on sexual behavior.
4.7 Describe shoit- and long-term consequences of sexuality-related risk behaviors
and identify barriers and supports for making health-enhancing decisions
4.8 Describe behaviors and methods for pregnancy prevention including abstinence.
4.9 Define the types of sexually transmitted infections (STIS), including HIV/AIDS,
and how they are prevented
4.10 Identify sexual discrimination and harassment
9_12 Developm ent
4.ll Identify the stages of the male and female reproductive systems over the life
cycle.

4.12 List the signs of pregnancy

4.13 Describe the effectiveness and consequences of various pregnancy, HIV, and
STI prevention methods, including abstinence.

4. 14 Identify possible determinants of sexual orientation and analyze the weight of
each in light of available research

Wellness

4.15 Explain the importance of examination of both genders for HlV and STIS before
conception and the risks and precautions of delivery when HIV and STIs are

present

4. 16 Describe proper prenatal care and identify types of birth defects

4.17 Explain the importance of communication and setting limits in a sexual
relationship

4.18 Identify and distinguish among types and degrees of sexual risk (pregnancy,
sexual assault, STIs, including HIV/AIDS)

4. 19 Evaluate the impact of HlV/AIDS on the community7 medical resources, and
farnily.

4.20 Identify resources available for treatment of reproductive health problems

 

Reproduction/Sexuality 22

 

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Massachusetts Health Curriculum Framework Physical Health Strand

Selected Examples: Reproductirm/Sexualitv

 

4.1

4.2

4.4

4.7

4.9

4.10

4.l3

 

Students label the functions and/or systems of the reproductive system on a blank diagram.

lnvite the school nurse or a health care professional who specializes in children to discuss the
changes that take place in boys and girls at puberty.

Students write short answers to define the types of sexual orientation

Students discuss consequences around sexuality decisions Determine and role-play steps that
improve decision-making (such as with whom to consult, information overlooked).

Students report on the policies of various states and countries regarding STIs prevention
among youth.

Students use current events or media portrayal to discuss the consequences of
discrimination based on sexual orientation

Students identify ways to prevent pregnancy and sexually transmitted infections

 

Interdisciglina_r;y Obiectives: Reproduction/Sexuality

 

 

 

9-12 4.a. (Law and Policy. Connects with History & Social Science.' Civics & Government)
Identify and explain laws about reproductive services
9-12 4.b. (Law and Policy. Connects with Histo)y & Social Science.' Civics & Government)

Explain the laws and relevant court rulings concerning rights about consensual
sexual relationships and reproduction (e.g., Roe v. Wade, Bowers v. Hardwick).

 

 

Reproduction/Sexuality 23

 

 

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Massachusetts Comprehensive Health Curriculum Framework Social and Emotional Health Strand

 

FAMILY LIFE

 

 

 

Family Life focuses on the importance of the family as a basic unit of society and the
many responsibilities within a family Family Life highlights the diverse perspectives, needs, and
characteristics of families and the internal and external supports that families rely on throughout
the family life cycle Family Life addresses parenting in a World Where technology and research
provide new information and options on a regular basis

A critical focus of Family Life is helping students understand that while families differ,
there are many similarities within all families Through the study of Family Life, students can
gain an understanding that a family, regardless of its composition fulfills certain critical needs
Resilience can be fostered by the recognition that many factors may affect the stability and
health of a family, but that many supports are available to help families Family Life focuses on
parenting as a choice and as a major responsibility Both emotional maturity and parenting skills
are necessary for child rearing. The development of good character in children is one important
responsibility for parents and families Understanding the stages of child development will make
parenting more successful for both the child and the parent Topics generally covered in the
Study of Family Life include: Functions and Purposes, Supports, and Parenting

PreK-12 Standard 6: Familv Life
Students will gain knowledge about the significance of the family on individuals and society, and

will learn skills to support the family, balance Work and family life, be an effective parent, and
nurture the development of children

Family Life 29

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Massachusetts Comprehensive Health Curriculum Framework

Leaming Standards: Familv Life

Social and Emotional Health Strand

 

 

 

 

PreK_§ Functions and Purpose
6.1 Describe different types of farnilies, addressing membership and social influences,
and the functions of family members
6.2 Describe factors, such as character traits of individuals and life events, that can
strengthen families
Supports
6.3 Identify whom to talk With about family problems and successes.
Parenting
6.4 Identify what parents do to provide a safe, healthy environment for their children
6_8 Functions and Purpose
6.5 Describe how the functions, purposes, and responsibilities of family members change
with life events
6.6 Explain the farnin life cycle and recognize that raising a child is one' of the
most important functions of a family
Supports
6.7 Describe those one can trust or turn to for help when needed, such as a support
system that can include relatives, f`riends, neighbors community organizations and
faith-based groups
Parentr'ng
6.8 Describe ways in which relationships among parents and children change during
adolescence, and compare peer and parental influences
9_12 Functions and Purpose

 

6.9 Explain the hinctions, purposes, and social significance of family from various
historical periods, including modern times

6. 10 Identify the traits of a healthy family (such as responsibility, communication trust,
loyalty, respect, commitment, love, affirmation and self-reliance) and explain the
interdependence and independence of farnin members

Supports

6.11 Identify steps for getting support or help, including identifying resources for
families whose members have special health needs

Parenting

6. 12 Identify the child-rearing skills (including emotional maturity to nurture children
and knowledge of child development stages) and the financial resources needed for
parenting.

6. 13 Evaluate various types of discipline parents might use With children of different
ages

6. 14 Describe the consequences of teen parenting from the perspectives of the teen
mother, teen father, and the parents of the teens.

6.15 Identify desirable character traits (such as love, respectliilness, generosity, kindness,
and forgiveness) and describe the development of good character, including the role
of parents and family in the moral development of children

6.16 Describe considerations relevant to becoming a parent (including the various ways
of becoming a parent such as foster parenting, adoption and stepparenting).

6.17 Describe parental practices that encourage literacy in young children

 

 

Family Life

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Massachusetts Comprehensive Health Curriculum Framework

Selected Examples: Familv Life

 

 

6.2

6.5

6.9

6.12

6.17

As a class, design a bulletin board collage on the many different things adults know and
are able to do. Discuss why a person With these skills, experiences, taleirts, and
information would be a good person to talk to when you have a problem or have
experienced a success

Students list events (such as new baby, remarriage or grandparent moving in) that can
lead to changes in family composition and analyze their possible influence on family
life

Students view films that show changes in families in the last 50 years and identify what
constants appear (e.g.7 caring for each other) and what changes appear evident (e.g.,
role changes in household and parenting tasks).

In supervised small groups, students respond to the developmental and health needs of
young children in a child care setting and evaluate skills with the supervisor

Desi gri a pamphlet summarizing research and activities for parents to promote literacy
in their young children Have an early childhood specialist evaluate the pamphlet and
provide feedback to students

 

 

Interdisciglinary Objective: Familv Life

 

 

9-12

(Law and Policy. Connects with Histo)y & Social Science: Civics and Government)

 

 

 

6.a. Identify laws related to child abuse

Family Life

Social and Emotional Health Strand

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Massachusetts Comprehensive Health Curriculum Framework Social and Emotional Health Strand

 

INTERPERSONAL RELATIONSHIPS

 

 

 

Interpersonal Relationships focuses on the importance of sound and stable relationships
with other people with whom individuals share their lives such as family, friends co-workers,
and community members Communication skills are an essential component to help build safe
and long-lasting relationships throughout the life cycle Equally important are character attributes
such as respect and responsibility7 which are essential for healthy personal development, caring
interpersonal relationships and a humane and democratic society

Instruction in Interpersonal Relationships facilitates students’ understanding that very
few events in life occur in isolation from other people, so the ability to achieve healthy
relationships is critical for well being This is especially true for major life events such as starting
school, going away to college, entering the workforce, marriage, or child rearing Students learn
about the different kinds of relationships that people can have, such as neighborly relationships
family relationships peer and friend relationships and romantic relationships Instruction in
Interpersonal Relationships highlights the recognition that each person has internal personal
choices and decisions to make regarding relationships as well as providing the knowledge about
the many external factors that can affect those relationships Skills and strategies to relate to
others as well as the recognition of the contribution of personality and good character to
relationships can be learned through health education programs that address Interpersonal
Relationships Topics generally covered in Interpersonal Relationships include: Communication
Peer Relationships and Romantic Relationships

Note: Please see parental notification law in Appendix B, p. 69.

PreK-12 Standard 7: Ir_rterpersonal Relationships

Students will learn that relationships with others are an integral part of the human life experience
and the factors that contribute to healthy interpersonal relationships and will acquire skills to
enhance and make many of these relationships more fulfilling through commitment and
communication

lnterpersonal Relationships 32

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Massachusetts Comprehensive Health Curriculum Framework

Leaming Standards: Interpersonal Relationships

Social and Emotional Health Strand

 

 

 

PreK_§ Communication
7.1 Explain why communication is essential in human relationships and identify people
from whom children can learn how to communicate, such as family members
friends community members and members of faith-based groups
7.2 Apply both verbal and non-verbal communication skills to develop positive
relationships and improve the social environment of the school.
Peer Relationships
7.3 Describe the concept of friendship and contrast qualities that strengthen or weaken a
friendship, including the importance of sound character in interacting with others
7.4 Describe the concepts of prejudice and discrimination
6_8 Communication
7.5 Apply attentive listening, feedback, and assertiveness skills to enhance positive
interpersonal communication
Peer Relationships
7.6 Explain how peer pressure influences choices and apply strategies for managing
negative peer pressure and encouraging positive peer pressure
7.7 Recognize the positive contribution of character traits (such as tolerance, honesty,
self-discipline, respectfulness, and kindness) to relationships the benefit to
relationships which include understanding and respecting individual differences
and the detrimental effect of prejudice (such as prejudice on the basis of race,
gender, sexual orientation class or religion) on individual relationships and society
as a whole.
Romantic Relationships
7.8 Describe the purpose of dating and acceptable dating attitudes (such as respect) and
appropriate conduct
7.9 Explain the benefits of abstinence, postponing sexual behavior, and setting limits on
sexual behavior.
9_12 Communication
7. 10 Identify techniques for handling anger and resolving conflicts in the farnily,

 

 

friendships and the workplace, including seeking help from professional and
community organizations and faith-based groups

7.11 Contrast the emotional impact on long-term relationships of positive
communication (such as active listening, praise, and humor) with negative
communication (such as teasing, name calling, bullying).

7.12 Describe the influence of the larger social group on individual conduct (such as
giving comfort, solving problems and controlling deviant behavior through
enforcing laws and the development of good character in the members of society).

7. 13 Explain the importance of connnunication in setting limits in a sexual relationship

Peer Relationships

7. 14 Explain the purpose of friendship in different stages of the life cycle and describe
how friends can support one another in making healthy decisions

7.15 Recognize and identify the concept of friendship without romantic involvement and
how friendship may develop into romantic relationships

Romantic Relationships

7. 16 Explain the importance of responsibility and character traits such as love,
respectfulness generosity, kindness and forgiveness in committed relationships
7. 17 Describe commitment in casual and serious relationships

 

 

lnterpersonal Relationships

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Massachusetts Comprehensive Health Curriculum Framework Social and Emotional Health Strand

Selected Examples: Interpersonal Relationships

 

 

7.2 Students design posters bulletin boards or web page components on the theme of the 3R’s_
Responsibilities7 Rights7 and Respect. Include examples of conduct and policies that reflect
the 3R’s in the school.

7.6 Students identify risk-taking behaviors that a teen might consider. Working in small groups
practice and evaluate refusal skills for those risk behaviors that are dangerous

7.7 Students read literature on prejudice and write a paper on how it can cause conflict in
communities
7.8 Students identify social interaction patterns among young people and compare the functions

those patterns serve in developing relationships with others Invite the school counselor to
discuss appropriate and inappropriate conduct in pre-adolescent friendships and dating

7.17 Students create skits that deal with various decisions made at the developmental stages of
relationships Videotape and analyze the skits with regard to the different decisions people
might be faced with in these relationships

 

 

To Next Section 9

lnterpersonal Relationships

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Massachusetts Comprehensive Health Curriculum Framework

APPENDIX A: MASSACHUSETTS GUIDING PRINCIPLES OF
COMPREHENSIVE HEALTH EDUCATION

LINKED WITH NATIONAL STANDARDS IN
HEALTH EDUCATION, PHYSICAL EDUCATION,
AND FAMILY AND CONSUMER SCIENCES EDUCATION

 

Much of the work being done on the local and national level in health education, physical education, and
family and consumer sciences education uses national Standards to some extent The following pages show
“matches"` between the Massachusetts Health Curriculum Framework Guiding Principles (GP) and theNational
Standards in Health Education, Physical Education, and Family and Consumer Sciences Education. These can help
inform schools other states and national programs about the work Massachusetts is doing in these areas

 

MASSACHUSETTS GUIDING PRINCIPLES
OF COMPREHENSIVE HEALTH EDUCATION

GUIDING PRINCIPLE I

Comprehensive health education teaches students fundamental health concepts and skills
that foster habits and behaviors for oneself and others through the coordinated teaching
of health, physical education and family and consumer sciences education at each grade
level, prekindergarten through grade 12.

GUIDING PRINCIPLE II
Comprehensive health education teaches students to use fundamental health concepts to
assess risks, to consider potential consequences, and to make health enhancing decisions.

GUIDING PRINCIPLE III
Comprehensive health education teaches skills that assist students to understand and
communicate health information clearly for self-management and health promotion.

G UIDING PRINCIPLE IV

Comprehensive health education contributes to the capacity of students to work in a
positive manner with families, school stajf, peers and community members to enhance
personal health and create a safe and supportive environment where individual
similarities and differences are acknowledged

GUIDING PRINCIPLE V
Comprehensive health education is strengthened through collaboration and partnerships

among all components of the coordinated school health program and other subiects.

 

Guiding Principles and National Standards 62

 

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EXHIBIT “C”

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The Coiiinionwealth of Massachusetts
Department of Education

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350 Main Strcct, Mulden, Massachusetts 02148-5023 telephone nat ; 313._=¢)00

 

July 26, 2004

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liedford, M`A 01730

Re; Review of Final l_,oc:il Deeision_ under Parenml Notilic:it_iori Law
Dear Mr. and Mrs. 1~9:

'l" his is irl response to your June 29, 2004 request for review pursuant to 603 CMR 5.04(1) of a
final local decision of the Bedford School Committee under G_L. c. 71 _, § SZA, the 1“aren.tal
Notihcatlon Law_ hi your request for rcvicw, you allege that the Bedford Public Schools and the
Bedford School Committec (“Bcdford”) violated G.L. c_ 71, § 32A i.t) regard to your two
driught.crs, both ol` whom attended the John Glerm Middlc School (_"the school") during the 2003~
2004 school year. Pursuant to (i.l.. c. 71 , § 32A and Bediord's own local policy. in March olf'
2004, you exempted your daughters from participating in t-my portion of thc school curriculum
that primarily involved human sexual education or human sexuality issues You now claim that
Bedford failed to notify you of such curricultl, and failed to comply with is local process for
dispute resolution

Speciiir:ally, you allege that Bedford violated G.L. c. 7lA, § 32A by failing to: l) notify you of
a school assembly that included a skit about a homosexual student; 2) notify you of thc display
of 21 rainbow flag signifying gay pride in the main corridor of the school; 3_) exempt your
children from exposure to the lla§ display after you specifically requested such exemption; and
4-) adhere to its local process for dispute resolution by allowing thc Superintendent to collude
With and influence improperly Bedford School Committee members during thc local review
process

After review of the materials submitted by you, and f or the following reasons I have determined
that Bedford has complied with G.L. c. 7l, § 32A and 603 C.M.R. 5.00, the regulations
promulgated under G.l.. c_ 7l, § 32A,

The facts, ns provided in the documentation you submitted to the Depcirtmcnt, arc as follows:

On September 23, 2003_. in accordance with G.L. c. 7l, § 32A and Bedford’s own parental
notilicution policy, the school sent a letter to students' parents informing thern` of the seventh and
eighth grade cum'cul:r involving sexual education or human sexuality issuesT and of the parents’
right to exempt their children from such curricula.. The letter provided no information regarding
a forthcoming flag display or school-wide assembly entitled “Rcspect l`or Differcnces .l)ay."

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On Novcmber 24, Zl`)(l3, the school coordinated a "Respect for Differenees Day_" 'I` he day was
designed “io foster a deeper understanding of differences in our country and our world." The
specific purpose of the day was “to confront the issue ot`bullying, and to send u strong,
consistent message that bullying is wrong and will not be tolerated for any reason, under any
circurrrstances." The day included a school-wide mandatory assembly at which Michacl Fowlin,
Pl).D. presented a series of short sl<its. The skits were designed to address the issue of _
harassment antidiscrimination by students on the bases of race, disability, ethnicity, and sexual
orientation Of the eight skits that Dr. Fowli_n prescntcd, each of which pom'ayed a hypothetical
student whose personal characteristics caused the student to suffer harassment or bullying in
school, one concerned a homosexual student and the difficulties the student faced in school
because of his sexual orientation

As part of the same project, school officials installed in thc school’s main corridor a display of
flags representing different nationalities. The display included a. rainbow flag donated by a
teacher at the school. The caption of the rainbow flag originally read "Ga)' Pride,_" hut, at the
request of some parcnts, the school subsequently changed the caption to read “Frecdom.“ The
flag display_ including the rainbow flag_ remained installed in the school’$ main corridor for
several months after the Novernher 24"‘ “Day of Rospect." The school did not provide prior
notice to parents regarding the gay pride flag and/or the skit regarding a homosexual student

On M`nrch 22, 2004 , you wrote to Thomas Cam`pbell, principal of the school (“the principal"),
requesting thut your daughters "be exempted from school assemblies or other instructional
activities and programs that focus on human sexual education or littman sexuality issues, such as
being exposed to flags of sexual orientation.” You received no response from Mr. Campbel] to
your lettcr, and the flag display, including the rainbow tlag, remained installed in the school.

On April 7, 2004, you wrote to Dr. l\»'lanreen Lacroix, Superintendent ofBedl`ord Public Schools
(“Superiutcndeut") requesting a rovicw, under 603 C.M.R. 5.03(1), of thc principal’s inaction
regarding your daughters continued exposure to the rainbow flagt 'I`hc Superintendent
responded on Apri.l 27, 2004, asserting that the school could hang the rainbow flag without
parental notification under G.L_ c_ 7l. § 32A. l`n her let'ter, the Superintendent explained that the
primary purpose ot`the "Day of Respect" was not to provide instruction on issues of human
sexuality but, rather, to promote tolcrtu'ice and respect among students Tltus, the Superintendent
concluded neither the rainbow flag nor the November 24"` assembly constituted a curriculum
that “primarin involved human sexual education or littman sexuality issues” under G.L_ c_ 7 l, §
32A.

On May 20, 2004, you requested the Bedford School Comtriittec ("tlte School Committee") to
review thc Superintendent’s decision under 603 C.M.R. 5.03(3). After a meeting, which both
you and the Superintendent attendcd, the School Committce voted unanimously to uphold the
Superin'tcndent‘s dccision__ and, on .lune lS, 2004. issued its final local de-cision, pursuant to 603
C.M.R. 5.03(4). On lone 29__ 2004, you filed this request pursuant to 603 C.MR 5.04, requesting
my review of the decision issued by the Bedford School Committec.

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Cieneral_ Laws c. 71, § 32A, the Parentul Notilictttiori Law, states in relevant part:

Every eity_, town_. regional school district or vocational school district
implementing or maintaining curriculum which primarily involves human
sexual education or human sexuality issues shall adopt a policy ensuring

_ parcntal!gu:=rrdian notification Such policy shall afford parents or
guardians the flexibility to exempt their children from any portion of said
curriculum through written notification to the school principal No child
so exempted shall be penalized by reason 01` such exemption

The department of education shall promulgate regulations for
adjudicatory proceedings to resolve any and all disputes arising under this
section.

G.L.-c. 71, § 32A.

The Board ot`Educntion promulgated regulations under the statute, which are codified at 603-
C.M.R. 5.00. 'l`hc regulations provide, i_n relevant parts

A parent who is dissatisfied with an action or decision of the
superintendent under G.L. c. 71_, § 32A may submit a written
request to the school committee for review of the issu.c.

The school committee shall review the issue and provide the parent
with zt timely written decision within 30 days of the request unless
extenuating circumstances require a del;-iy,

A parent who is dissatisfied with the final local decision on an
issue arising under G.[.. c. 7l , § 32A may submit a written request
for review to the Commissioner, within 15 days of the date of thc
final locnl`deeision. The written request shall specify the basis on
which the parent alleges the school or school districtl has not met
the requirements ofG.l.._ c. ',’l, § 32A and shell include n copy of
. the linal local decision and any other relevant correspondence

603 C.M.R. 5.03(3`;-, 5.03(4) and 5.04(1).

The first issue raised by you for review is the skit portraying a homosexual student that wats part
ofz-i N`ovember 24, 2003 mtmd:-itory school-wide assembly As noted obove. (.`r.L, c. 71, § 32A
requires each school committee to adopt and publish a policy ensuring that parents are notified
:-ibout` and permitted to exempt their children from, any “curr_iculum that primarily involves

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human Scxual education or human sextuility issues.” 'l`hc Dep:irtr.nent has interpreted this phrase
to apply 10 courses school assemblies, or other instructional activities and programs that students
tire scheduled to attend during the school day, and that focus on human sexual education, the
biological mechanics ot"l'_iutn:-tn reproduction and Sexual development, or human sexuality issues.

Although the skits perfom_ted tit the school-wide assembly held on Novcmber 24, 2003 may l:~e
considered “cu.t~ricula" for the purpose o.t`G.I.. e_ 71, § 32A. since attendance at the assembly was
mandatory and the skits were instructional in naturc, they were not "curr`tcul[a] that primarily
involves human sexual education or littman sexuality issues.” The zosernbly was p:ut of a "Day
of Respect,"’ the purpose of whieh, according to the school, was to promote tolerance and respect
‘l_`or every student, including st.'urlents, such as gay and lesbian students and disabled stitdents,
who are often viewed ns different by other students 'I`hus, the purpose of the sk.its was 10
provide irisuuction on toleranee, not issues of littman sexuality The skit at issue dealt with _
social obstacles that homosexual students may face at school. There is no evidence, and you do
not suggest that the skit included direct discussion of human sexuality issues and/or,
specifically, homosexual relationships 'l` he mere reference to the 'l"act of homosexuality or the
portrayal of :-t homosexqu student, without further instruction or discussion ofthe physical and
sexual implications ol`l')omosexu.'ility__ does not constitute instruction about “the biological
mechanics ol` human reproduction and sexual developrr)'ent`, or human sexuality issues.” Ba$e,d
on these fticts, l conclude that the skit did not require parental notification under G_L. e. 71` §
32A.

Likewi:;e, the school’s display ol_" the rainbow flag also falls outside the notification requirements
of G_L_ ¢_ 71, § 32A. There appears to he no dispute that the flag was intended to reference
homosexuality and to constitute a symbol of tolerance l`or gay and lcshian students However,
the display ofsuch a ll ag in the main corridor of the school does not constitute a “euri'iculum"
l`or the purposes ol`G~L. c:. 71_. § 32A. A flag is not :i coursc, au asscrnbly, or an :ictivity, unless
students are required to study it and attend instruction about it. Moreover__ even assuming that
the flag display did meet the definition of a "curri_culurn,“ it still would not require parental
notification pursuant to G.`L. c. 71, § 32A, because similar to the skit, it is at most a reference to,
m symbol of__ liomosexu`ality, and does not constitute instruction on human sexuality issues

You also allege that the school failed to comply with your request to exempt your daughters from
instruction on human sexuality issues, insofar ns the School permitted the rainbow flag to remain
bringing in the school corridot'. as part ofa larger flag ex_liibit_, after the receipt of your Mztrob. 22,
2004 letter_ For die reasons stated above, I have determined that the display of the rainbow flag
does not constitute curriculum primarily involving human sexual education or human sexuality
issues for purposes of G.l,. c. 7l, § 32A. 'l`hus, the school was not required to remove the flag
upon receipt of your March 22, 2004 letter.

Finally` you allege procedural flaws in the School Committee`s meeting on June 15, 2004 Both
you and the Superintendent attended the nteeting, ut which you were permitted to present your
position on the sehool`s actions You contend that the fact that the Superintendent sat with
School Cotntnittee members at the meeting held to review your complaint indicates collusion

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n.nd thin the Superintendent improperly influenced the School Committee's final decision
Bedford does not dispute that the Superinter,ident sat with the School Commit‘te.e members m the
mccting. `Nothing. in 603 C._M.R. 5.(`)0` however, prescribes lite form in which the School
Comm.ittee must ".review the issue and provide the parents with n timely written dccision." 603
C.M.R. 5.03(4). lndeed, the regulation does not require the School Commit'.tee’s review to
include a formal meeting As 603 C.M.R. 5.03 does not prescribe the form in which the School
Committe.c is charged with reviewing the Superintericleut`s decision under G_L. c. 7l , § 32A.
there is no regulatory violation Nor mm l determine that the School Commit'tee acted in bad
I`nirh or with collusion based on the fact that the Superintendent sat with the School Commit'tee
members at thc meer.irig- 'l"he seating arrangement may have been designed to allow the
Si.xperintcndent el'l'icient'ly to testify or to provide information to the School Committec meml:\ers,
or for some other legitimate purpose Public officials enjoy a presumption of good faith in
carryingJ out their duties §l_ocum v. City o;M§dfg@, 302 Mass. 251 , 255 (193 9). No evidence
has been presented to rebut the presumption that the Superintendent and the School Committee
acted in good faith during their meeting on June lS, 2004. l~`urther, the School Committee's
written decision issued on June lB, 2004, does not provide any basis for a conclusion that the
School Committce was improperly influenced by the Superintendent in rendering its decision

B:Bed on my review of the documentation you have submitted zincl the nnnlysis above, I conclude
that Bedford did not violate G.L. c. 7_l, § 32A in regard to the display of the rainbow flag` its
sponsorship of '.-i skit regarding a homosexual student, or its response to your March 22, 2004
request for exemption of your daughters from instruction regarding human sexuality issues

'l`his is the final agency decision for purposes of 603 C.M.R. 5.04(4).

     

avid . Driscoll
Commissioner of E<lrieotioo

c: Dr. Mnurcen anroix__ Superintendent` Bedford Public Schools
Anne Bick'ford, Chnirwomziu, Bedford School (,`ommiltee
liliznheth Reliher, Legn.l Office
John Bytioe__ Associate Commissioner, Student Support Services
John Stagcr, Direct'or of"Progrnm Qu;tliry Assumncc Services

